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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 EQUAL MEANS EQUAL,
 JANE DOE,
 MARY DOE,
 SUSAN DOE, and
 THE NATIONAL COALITION AGAINST
 VIOLENT ATHLETES,

        Plaintiffs,
                                                           Civil Action No. 17-12043-MLW
 v.

 U.S. DEPARTMENT OF EDUCATION and
 ELISABETH D. DEVOS, in her official
 capacity as Secretary of Education,

        Defendants.


 DEFENDANTS’ CONSOLIDATED OPPOSITION TO PLAINTIFFS’ MOTIONS FOR
        EXTENSION OF TIME AND EXTENSION OF PAGE LIMITS

       For the third consecutive time, Plaintiffs have failed to comply with a deadline for filing a

memorandum in opposition to a motion to dismiss. On the two prior two occasions, Defendants

took no position on Plaintiffs’ after-the-fact extension motions, and the Court granted them.

Because Plaintiffs have no valid excuse for their third consecutive failure to comply with a

deadline, the Court should deny Plaintiffs’ latest extension motion. In the event that the Court

nevertheless grants Plaintiffs leave to file a brief in opposition to Defendants’ motion, it should

deny Plaintiffs’ motion for an extension of the page limits to forty pages and instead require

Plaintiffs to file a brief of no more than thirty pages, which is the number of pages that Defendants

were allowed for their motion to dismiss.

                                        BACKGROUND

       Plaintiffs commenced this case by filing a complaint on October 19, 2017. See ECF No. 1.
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On February 27, 2018, Defendants moved to dismiss. See ECF No. 9. Pursuant to Local Rule

7.1(b)(2), Plaintiffs’ opposition was due March 13, 2018.

            Plaintiffs missed that deadline, and they did not file an extension motion until March 16,

2018. See ECF No. 11. Defendants took no position on the extension motion. The Court granted

the extension motion, though it admonished Plaintiffs that “the opposition was due 14 days after

the filing of the motion to dismiss.” ECF No. 12. Plaintiffs’ new deadline was May 14, 2018. See

id.

            Plaintiffs missed that deadline, too. Instead, on May 17, 2018, Plaintiffs filed a second

extension motion, seeking leave to file their opposition that day. See ECF No. 15. Defendants did

not oppose that extension motion, either. The Court granted the extension motion on September

24, 2018, but it ordered that “in the future, any request for an extension of time shall be filed at

least seven days before the deadline for the submission.” ECF No. 23.

            On November 8, 2018, Defendants moved to dismiss the amended complaint. See ECF No.

27. (Seven days before their brief was due, Defendants filed a consent motion seeking leave to file

a thirty-page memorandum in support of the motion, see ECF No. 25, which the Court granted,

see ECF No. 26.) Under Local Rule 7.1(b)(2), Plaintiffs’ opposition brief was due November 23,

2018; any extension motion therefore had to be filed by November 16, 2018.1

            Plaintiffs again missed their deadline. Instead, on November 26, 2018, Plaintiffs finally

filed motions seeking (1) a nunc pro tunc extension of their deadline to November 27, 2018, see

ECF No. 29, and (2) leave to file a forty-page memorandum in opposition to Defendants’ motion

to dismiss, see ECF No. 30. These motions came three days after Plaintiffs’ deadline for filing

their opposition to Defendants’ motion to dismiss and ten days after their deadline to file their



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          November 22, 2018, was Thanksgiving Day. See 5 U.S.C. § 6103(a).


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extension motion pursuant to the Court’s order of September 24, 2018.2

                                            ARGUMENT

    I.      The Court Should Deny Plaintiffs’ Motion for Extension of Time in Light of
            Plaintiffs’ Third Consecutive Failure to Comply With a Court Deadline.

         The Court should deny Plaintiffs’ latest untimely request for an extension of time because

Plaintiffs have no valid excuse for their third consecutive failure to comply with a Court deadline.

While an isolated failure to comply with a deadline may be forgiven on the basis of excusable

neglect, see Fed. R. Civ. P. 6(b)(1)(B), the Court should not sanction Plaintiffs’ repeated,

consistent failure to abide by this Court’s orders and the local rules of this Court. Indeed, Plaintiffs’

only justification for their belated extension motion—that they could not comply with their

deadline in light of the Thanksgiving holiday—was entirely foreseeable, and Plaintiffs’ need for

another extension should have been brought to Defendants’ and the Court’s attention seven days

in advance of their deadline, in compliance with the Court’s order of September 24.

         As the First Circuit has explained, “Rules are rules—and the parties must play by them.”

Mendez v. Banco Popular de P.R., 900 F.2d 4, 7 (1st Cir. 1990). “[T]he judicial process depends

heavily on the judge’s credibility,” and “[t]o ensure such credibility, a district judge must often be

firm in managing crowded dockets and demanding adherence to announced deadlines.” Id.; accord

Perez-Cordero v. Wal-Mart P.R., 440 F.3d 531, 533 (1st Cir. 2006) (court “has significant

discretionary authority to set and enforce filing deadlines in accordance with the Federal Rules of

Civil Procedure, even when those deadlines are difficult for lawyers to meet”).

         In this case, after Plaintiffs missed a deadline for the second time, the Court was explicit


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      Plaintiffs’ motion wrongly indicates that they are seeking to file their motion “three days
late.” See ECF No. 29 at 1. Plaintiffs filed their extension motion three days after their November
23 deadline passed, but they are seeking a four-day extension insofar as there are four days between
November 23, 2018, and November 27, 2018. See Fed R. Civ. P. 6(a)(1) (“exclude the day of the
event that triggers the period,” then “count every day,” then “include the last day of the period”).


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about its future expectations: extension motions had to be filed “at least seven days before the

deadline for the submission.” ECF No. 23. Plaintiffs ignored that order, explaining that “Plaintiffs’

counsel would have filed this motion sooner, but she assumed Defendants’ counsel would assent.”

ECF No. 29 at 1. If the Court expects parties to comply with its orders, then there must be

consequences for parties that consistently fail to do so. See Mendez, 900 F.2d at 7 (“If [the Court]

sets a reasonable due date, parties should not be allowed casually to flout it or painlessly to escape

the foreseeable consequences of noncompliance.”). The Court should therefore deny Plaintiffs’

latest extension motion and treat Defendants’ motion to dismiss as unopposed.

   II.      If the Court Grants Plaintiffs’ Extension Motion, It Should Deny Plaintiffs’
            Motion for an Extension of the Page Limit to Forty Pages.

         Should the Court reject the foregoing arguments and permit Plaintiffs to file an untimely

brief in opposition to Defendants’ motion to dismiss, it should still deny their request to file a forty

page brief. Defendants sought and obtained leave to file a thirty-page motion, and it would be

inequitable for Plaintiffs to receive ten additional pages beyond the number of pages that

Defendants received. Accordingly, should the Court permit Plaintiffs to file a brief at all, it should

only allow them up to thirty pages.

                                          CONCLUSION

         The Court should deny Plaintiffs’ motions.

Dated: November 27, 2018                               Respectfully submitted,

                                                       JOSEPH H. HUNT
                                                       Assistant Attorney General

                                                       ANDREW E. LELLING
                                                       United States Attorney

                                                       RAYFORD A. FARQUHAR
                                                       (B.B.O. # 560350)
                                                       Assistant United States Attorney


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                                                   United States Attorney’s Office
                                                   1 Courthouse Way, Suite 9200
                                                   Boston, MA 02210
                                                   Phone: (617) 748-3100
                                                   Fax: (617) 748-3971
                                                   E-mail: rayford.farquhar@usdoj.gov

                                                   CARLOTTA P. WELLS
                                                   Assistant Branch Director
                                                   Civil Division

                                                   /s/ Steven A. Myers
                                                   STEVEN A. MYERS
                                                   (NY Bar # 4823043)
                                                   BENJAMIN T. TAKEMOTO
                                                   (DC Bar # 1045253)
                                                   Trial Attorneys
                                                   United States Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   P.O. Box No. 883, Ben Franklin Station
                                                   Washington, DC 20044
                                                   Phone: (202) 305-8648
                                                   Fax: (202) 616-8470
                                                   E-mail: steven.a.myers@usdoj.gov

                                                   Attorneys for Defendant

                               CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the above document was served upon Plaintiffs’ counsel,

Wendy J. Murphy, by the Electronic Case Filing system on November 27, 2018.

                                                     /s/ Steven A. Myers
                                                     STEVEN A. MYERS




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